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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

TODD YUKUTAKE and DAVID
KIKUKAWA,

Plaintiffs,
Vs.
CLARE E. CONNORS, in her
Official Capacity as the Attorney

General of the State of Hawaii,

Defendant.

CIVIL NO. 19-00578 JMS-RT

MEMORANDUM IN SUPPORT OF
MOTION

MEMORANDUM IN SUPPORT OF MOTION

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAII

TODD YUKUTAKE and DAVID CIVIL NO. 19-00578 JMS-RT

KIKUKAWA,
MEMORANDUM IN SUPPORT OF

Plaintiffs, MOTION
VS.
CLARE E. CONNORS, in her
Official Capacity as the Attorney

General of the State of Hawaii,

Defendant.

MEMORANDUM IN SUPPORT OF MOTION

I. INTRODUCTION

In this case, Plaintiffs TODD YUKUTAKE and DAVID KIKUKAWA
(“Plaintiffs”) challenged provisions in two firearms statutes, Hawaii Revised
Statutes (“HRS”) §§ 134-2 and 134-3. They argued that their Second Amendment
rights were violated because: (1) a permit to acquire a handgun is only valid for
ten days after the date of issuance; and (2) applicants must bring newly acquired
handguns to the Honolulu Police Department for inspection at the time of
registration. On August 16, 2021, this Court agreed with Plaintiffs and entered an
Order Granting Plaintiffs’ Motion for Summary Judgment and Denying

Defendant’s Counter Motion for Summary Judgment. The Court subsequently
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ordered that entry of the separate Judgment on the Order would be delayed until
September 22, 2021.

Defendant CLARE E. CONNORS, in her Official Capacity as the Attorney
General of the State of Hawaii (“Defendant”), has carefully considered the August
16, 2021 Order and intends to file an appeal. Therefore, to maintain the status quo
and minimize disruptive effects, she respectfully requests that the Order and
Judgment in this case be stayed pending appeal. If the Court denies a stay pending
appeal, Defendant requests in the alternative that this Court grant an administrative
or temporary stay pending proceedings associated with a motion for stay pending
appeal filed in the Ninth Circuit.

Il. BACKGROUND

On October 24, 2019, Plaintiffs filed their Verified Complaint for
Declaratory and Injunctive Relief against Defendant CLARE E. CONNORS, in her
Official Capacity as Attorney General of the State of Hawaii (“Defendant”), and
against Defendant CITY AND COUNTY OF HONOLULU (“the City’). ECF 1.

On November 19, 2019, Defendant filed her Answer to the Verified
Complaint. ECF 14. On December 5, 2019, the City filed its Answer to Plaintiffs’

Complaint. ECF 15.
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On June 12, 2020, the City entered into a Joint Stipulation with Plaintiffs
that settled the claims against it. ECF 53. The City was dismissed with prejudice
but the case proceeded against Defendant. Jd.

On July 20, 2020, Plaintiffs filed the Motion for Summary Judgment. ECF
54. Plaintiffs also filed their Separate Concise Statement. ECF 55.

On August 12, 2020, Defendant filed her combined Counter Motion for
Summary Judgment and Memorandum in Opposition to Plaintiffs’ Motion for
Summary Judgment. ECF 60. Defendant also filed her combined Opposition to
Plaintiff's Separate Concise Statement and Concise Statement. ECF 61.

On September 28, 2020, Plaintiffs filed their Response to Defendant’s
Motion for Summary Judgment. ECF 70. Plaintiffs also filed their combined
Concise Statement in Opposition to Defendant’s Concise Statement and Further
Concise Statement. ECF 69.

On October 5, 2020, Defendant filed her Reply Memorandum. ECF 71.

At a hearing on October 19, 2020, the Court discussed a recent amendment
to HRS § 134-3(c) and denied the pending Motions for Summary Judgment
without prejudice. ECF 77. The Court ordered Plaintiffs to file an amended
complaint to clarify the statutory provisions at issue in the case. [d. The Court

also ordered that after Plaintiffs file their amended complaint, the case would be
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stayed until the Ninth Circuit issued its opinion in Young v. Hawaii, No. 12-17808
(9th Cir.) (en banc). ECF 77.

On October 30, 2020, Plaintiffs filed their First Amended Complaint. ECF
78.

On March 24, 2021, the Ninth Circuit issued its en banc decision in Young.
The Court ordered the instant case reopened on March 25, 2021. ECF 80.

On April 28, 2021, Plaintiffs filed another Motion for Summary Judgment.
ECF 85. Plaintiffs also filed their Separate Concise Statement. ECF 86.

On May 28, 2021, Defendant filed her combined Counter Motion for
Summary Judgment and Memorandum in Opposition to Plaintiffs’ Motion for
Summary Judgment. ECF 91. Defendant also filed her Opposition to Plaintiffs’
Separate Concise Statement and Concise Statement. ECF 92.

On June 7, 2021, Plaintiffs filed their Reply and Opposition to Defendant’s
Counter Motion for Summary Judgment. ECF 95. Plaintiffs also filed their
Opposition to Defendant’s Concise Statement. ECF 96.

On June 14, 2021, Defendant filed her Reply Memorandum. ECF 99.

A hearing on the two Motions for Summary Judgment was held on June 28,
2021. ECF 102.

At a further hearing on August 4, 2021, the Court indicated its intent to grant

Plaintiffs’ Motion and deny Defendant’s Motion. ECF 105. However, the Court
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had not yet issued its written order and had not yet indicated the reasoning behind
its decision. Consequently, Defendant requested that the Court delay entering the
Judgment for 30 days after entry of the Court’s Order so that she could review the
decision and determine the course of action the State would take. Jd. Plaintiffs did
not object. Jd. The Court directed the parties to confer and file a stipulation by
August 6, 2021. Id.

Defendant submitted a proposed stipulation, which Plaintiffs agreed to, on
August 6, 2021. ECF 106.

On August 16, 2021, the Court issued its Order Granting Plaintiffs’ Motion
for Summary Judgment and Denying Defendant’s Counter Motion for Summary
Judgment. ECF 107. The Court declared the challenged portions of HRS s§ 134-
2(e) and 134-3(c) unconstitutional and enjoined Defendant’s officers, agents,
servants, employees, and all persons in active concert with Defendant from
enforcing them. Jd. The Court directed that entry of a separate Judgment would be
delayed until September 15, 2021 and that the August 16, 2021 Order would not
take effect or be appealable until the separate Judgment is entered. Id.

Defendant subsequently considered the Court’s Order, determined the course
of action for the State, and then promptly requested a status conference with the
Court. ECF 108, 109. The parties conferred by telephone on August 26, 2021, but

no agreement was reached. At the status conference on August 30, 2021,
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Defendant informed the Court that she planned to appeal and requested an
opportunity to file a written Motion for Stay Pending Appeal that would be
considered on an expedited basis. ECF 110.

The Court directed Defendant to file a Motion for Stay Pending Appeal by
August 31, 2021. ECF 112. The Court, with no objection by Plaintiffs, waived the
ordinary 7-day delay between the conference of counsel and the filing of the
Motion required by LR7.8. The Court set September 13, 2021 as the deadline for
Plaintiffs to file their Opposition. Jd. The Court indicated that it will then
determine whether to request any additional briefing and whether to hold a hearing
on the Motion. Jd. With the parties’ agreement, the Court also extended the date
by which the separate Judgment would be entered from September 15, 2021 to
September 22, 2021. Id.; ECF 111.

Il. ARGUMENT

“While an appeal is pending from an interlocutory order or final judgment
that grants .. . an injunction, the court may suspend . . . [the] injunction on terms
that ... secure the opposing party's rights.” Fed. R. Civ. P. Rule 62(d). “Rule
62(d) affords the Court discretion when a party requests a stay of an injunction
pending appeal.” Reclaim Idaho v. Little, No. 1:20-CV-00268-BLW, 2020 WL
8254279, at *1 (D. Idaho June 29, 2020). “[A] federal court must exercise restraint

when a plaintiff seeks to enjoin any non-federal government agency, be it local or
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state.” Midgett v. Tri-Cty. Metro. Transp. Dist. of Or., 254 F.3d 846, 851 (9th Cir.
2001). Although declaratory relief is not expressly mentioned in Rule 62, federal
courts have also issued stays pending appeal from declaratory judgments. See
United States v. Safehouse, 468 F. Supp. 3d 687, 690-91 (E.D. Pa. 2020); Florida
ex rel. Bondi v. U.S. Dep’t of Health and Human Services, 780 F. Supp. 2d 1307,
1319-20 (N.D. Fla. 2011).

A. — This Court Should Grant a Stay Pending Appeal.

Four factors are considered in determining whether to stay an order pending
appeal. See Humane Society of U.S. v. Gutierrez, 558 F.3d 896, 896 (9th Cir.
2009). “A party seeking a stay must establish [1] that he is likely to succeed on the
merits, [2] that he is likely to suffer irreparable harm in the absence of relief, [3]
that the balance of equities tip in his favor, and [4] that a stay is in the public
interest.” Id. (citing Winter v. Nat’l Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)).
See also Hilton v. Braunskill, 481 U.S. 770, 776 (1987). Although there must be a
minimal showing for each factor, courts must balance these factors, employing a
flexible approach that considers the facts of the particular case. Leiva-Perez v.
Holder, 640 F.3d 962, 966 (9th Cir. 2011). Courts in the Ninth Circuit generally
apply these factors in a sliding scale balancing test. Alliance for the Wild Rockies

v. Cottrell, 632 F.3d 1127, 1131 (th Cir. 2011).
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1. Likelihood of Success on the Merits.

A party seeking a stay pending appeal can demonstrate a likelihood of
success on the merits by demonstrating that the appeal concerns “serious legal
questions, or has a reasonable probability or a fair prospect of success.” Leiva-
Perez, 640 F.3d at 971. A party seeking a stay pending appeal “must show that
there is a ‘substantial case for relief on the merits[,]’” which is a “standard [that]
does not require the petitioners to show that ‘it is more likely than not that they
will win on the merits.’” Lair v. Bullock, 697 F.3d 1200, 1205 (9th Cir. 2012).

In the present case, Defendants have at least demonstrated “serious legal
questions” or “a substantial case.” In the first step of the analysis followed by the
Ninth Circuit and other circuits, Hawaii’s firearm statutes fall within two
exceptions that take them outside the scope of the Second Amendment. See
Jackson v. City & County of San Francisco, 746 F.3d 953, 960 (9th Cir. 2014).
The registration and permitting statutes are “longstanding” regulations that date
back to 1907 and 1919, respectively, and took what is essentially their modern
form in 1933-1934. See District of Columbia v. Heller, 554 U.S. 570, 626-27 &
n.26 (2008) (“Heller P’) (“longstanding prohibitions”). They also constitute
“conditions and qualifications on the commercial sale [or other transfer] of
arms[.]” See id.; Silvester v. Harris, 843 F.3d 816, 829-32 (Thomas, C.]J.,

concurring).
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The permitting and registration requirements also do not impose a
substantial burden on purchasers. They affect only the manner in which a person
purchases or obtains his or her firearm; they do not amount to an outright ban. See
Jackson, 746 F.3d at 961. Ten days is not a substantially burdensome amount of
time within which to purchase a handgun, and taking a firearm to the police station
for registration is also not substantially burdensome. These requirements merely
inconvenienced Plaintiffs by inducing them to take time off from work.
Consequently, intermediate scrutiny should be applied.

The permitting and registration requirements serve an important government
interest in protecting public safety in that such requirements provide more effective
supervision and control over the sale, transfer, and possession of firearms. See S.
Stand. Comm. Rep. No. 388, in 1919 Senate Journal, at 1420; H. Stand. Comm.
Rep. No. 89, in 1933 House Journal, at 427. The ten-day expiration date for
permits to acquire ensures that the information upon which the permit is based is
current when the firearm is acquired and it minimizes the consequences of it being
lost or stolen. Defendant’s Counter Motion for Summary Judgment, ECF 91-1 at
21-22. The requirement of bringing the firearm to the police station for
registration prevents mistakes in transcribing serial numbers or recording other
identifying information and helps in ensuring that firearms comply with Hawaii

law. Id. at 26. By confirming the identity of firearms, such as through serial
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numbers, inspection is also critical in facilitating tracing of firearms by law
enforcement. /d. at 27-28. And inspection of firearms at registration sets a “base
line” so that the current owner will not be blamed for any alterations to identifying
marks that the previous owner might have done. Jd. at 31-32.

These procedures are a “reasonable fit” with the important government
interest in public safety. To establish the “reasonable fit,” the State does not have
to establish that it is the “least restrictive means.” Jackson, 746 F.3d at 966. It
only has to show that the statute “promotes a ‘substantial government interest that
would be achieved less effectively absent the regulation.’” Pena v. Lindley, 898
F.3d 969, 979 (9th Cir. 2018).

Even if this Court ultimately disagrees with Defendant’s arguments,
Defendant has at least shown that “serious legal questions” exist or that a
“substantial case” exists as to whether public safety would be “achieved less
effectively” absent the challenged permitting and registration requirements. It is
not necessary for Defendant “to show that ‘it is more likely than not that [she] will
win on the merits.’” Lair, 697 F.3d at 1205.

2. Irreparable Harm.
The factor of irreparable harm is a “bedrock requirement’ for the issuance of

a stay. Leiva-Perez, 640 F.3d at 965. “[A] state suffers irreparable injury

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whenever an enactment of its people or representatives is enjoined.” Coal. for
Econ. Equity v. Wilson, 122 F.3d 718, 719 (9th Cir. 1997).

In the present case, not only are democratically enacted laws being enjoined
or declared unconstitutional, but in doing so, the District Court risks creating chaos
for the State of Hawaii and all four counties. By invalidating two important
permitting and registration requirements for firearms, it will encourage more
people to apply for permits and registrations. The county police departments will
not be able to handle the influx of new applications, especially during a pandemic.
For example, when the U.S. District Court for the Southern District of California
struck down California’s large-capacity magazine (“LCM”) law in Duncan v.
Becerra, 366 F. Supp. 3d 1131 (S.D. Cal. 2019), California was inundated with
over one million LCM’s during the approximately one-week period before a stay
was entered. See Don Thompson, Gun groups: Million-plus extended magazines

flood California, Associated Press (April 11, 2019), https://apnews.com/article/

9a5da7c4bbb74156944fe23 17dedc88c (see Exhibit “A”). The District Court

ultimately granted a stay pending appeal. See Duncan v. Becerra, Case No. 17-cv-
1017-BEB-JLB, 2019 WL 1510340 (S.D. Cal. April 4, 2019) (Order Staying in
Part Judgment Pending Appeal) (see Exhibit “B”’).

Furthermore, since there has not been time for the Legislature to enact

statutes to replace those invalidated by the District Court, the county police

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departments will not know how to handle permits and registrations from this point
on. Police officials may start treating permits to acquire as being valid indefinitely.
They might also start completing registrations without any verification of serial
numbers or other identifying marks at all.

As a result, people will be acquiring and registering firearms who would not
ordinarily be able to do so under the prior regulations. This will result in an
increased threat to public safety. People may be acquiring firearms even though
the information their permits were based on is inaccurate. They may be registering
firearms with inaccurate serial numbers or other identifying information. They
may also be registering firearms that violate Hawaii law, such as by having barrel
lengths that are too short, that constitute assault pistols, or that have illegal
accessories, such as bump fire stocks. See HRS § 134-8.5.

It is also likely that, whatever each county police department decides to do,
the standards will vary between the counties. Eliminating the standard set by state
statutes will result in various standards set by local policies, which may not be
consistent with each other. Consequently, further chaos will result.

Once all of these things happen, it will not be possible to correct them later,
even if Defendant prevails on appeal. Much like the over one-million additional
LCMs that are now present in California, officials will not be able to “un-ring the

bell.” See Thompson article.

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3. Balance of the Equities.

Very clearly, the balance of the equities favors Defendant. The District
Court’s decision inflicts irreparable harm on the State and the counties as described
above. However, the Plaintiffs suffer no harm by a stay at all. Even under the
invalidated regulations, Plaintiffs merely suffered an inconvenience. Defendant’s
Counter Motion for Summary Judgment, ECF 91-1 at 29. They merely had to
acquire their handguns before the permits to acquire expired in ten days, and they
had to bring their firearms to the police station in person for registration. They
might have had to take time off from work to do this. /d. But that did not deprive
them of their firearms; it only inconvenienced them.

Furthermore, with respect to the balance of hardships, “[a] delay in seeking a
preliminary injunction is a factor to be considered in weighing the propriety of
relief.” Lydo Enterprises, Inc. v. City of Las Vegas, 745 F.2d 1211, 1213 (9th Cir.
1984). “Plaintiff's long delay before seeking a preliminary injunction implies a
lack of urgency and irreparable harm.” Oakland Trib., Inc. v. Chron. Pub. Co.,
762 F.2d 1374, 1377 (9th Cir. 1985). In the present case, Plaintiffs did not merely
delay in seeking a preliminary injunction, they did not move for a preliminary
injunction at all. This was because they did not suffer any irreparable harm and
therefore felt no urgency. Consequently, the harm that Defendant will suffer far

outweighs that suffered by Plaintiffs.

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4. Public Interest.

As a general matter, the “public interest” is harmed where, as here, a lower
court invalidates or enjoins a duly enacted statute. See, e.g., Golden Gate Rest.
Ass’n v. City & Cty. of San Francisco, 512 F.3d 1112, 1126-27 (9th Cir. 2009)
(recognizing that the “public interest may be declared in the form of a statute”).

By invalidating or enjoining Hawaii’s permitting and registration statutes,
the public interest is being harmed. Moreover, the issue of firearms clearly
implicates public safety, which is also a matter of public interest.

Since all four factors weigh in favor of Defendant, a stay pending appeal
should be granted. Even if this Court decides that the likelihood of success is
minimal, the Ninth Circuit applies a sliding scale balancing test and the weight of
the other factors should balance out that factor.

B. If this Court Denies a Stay Pending Appeal, It Should at Least
Grant an Administrative or Temporary Stay Pending a Motion
for Stay Pending Appeal Filed in the Ninth Circuit.

If this Court denies a stay pending appeal, Defendant further requests that

this Court issue an administrative or temporary stay that stays its Order and
Judgment while the Ninth Circuit considers whether to grant a full stay pending

appeal. Under Ninth Circuit law, an administrative or temporary stay is “intended

to preserve the status quo until the substantive motion for a stay pending appeal

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can be considered on the merits[.]” Al Otro Lado v. Wolf, 945 F.3d 1223, 1224
(9th Cir. 2019); Doe #1 v. Trump, 944 F.3d 1222, 1223 (9th Cir. 2019).

Granting an administrative or temporary stay would maintain the status quo
in this case and minimize unnecessary disruption and confusion. At least while
Defendant’s motion to stay is pending in the Ninth Circuit, an administrative or
temporary stay should be put in place to prevent the likely chaos and irreparable
harm from occurring.

IV. CONCLUSION

Based on the foregoing reasons and authorities, Defendant respectfully
requests that the Order and Judgment in this case be stayed pending appeal. If the
Court denies a stay pending appeal, Defendant also requests that this Court grant
an administrative or temporary stay pending proceedings associated with a motion
for stay pending appeal filed in the Ninth Circuit.

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DATED: Honolulu, Hawaii, August 31, 2021.
STATE OF HAWAI'I

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KENDALL J. MOSER
Deputy Attorney General

Attorneys for Defendant
CLARE E. CONNORS, in her
Official Capacity as the Attorney
General of the State of Hawai‘i

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